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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF PUERTO RICO

   IN RE:
                                                              CASE NO. 11-06637 (MCF)
   JUAN CARLOS BALCELLS GALLARETA
                                                              CHAPTER 7
             Debtor

                                                             ADV. NO. 14-00137
   NOREEN WISCOVITCH RENTAS
   CHAPTER 7 TRUSTEE

         Plaintiff

             v.

   AMARILIS GONZÁLEZ GARCÍA

         Defendant


       REPLY TO TRUSTEE’S MOTION TO OPPOSE MOTIONS REQUESTING
                              SUBPOENA
 TO THE HONORABLE COURT:
        COMES NOW defendant, Amarilis González García (“Defendant”), through the

 undersigned attorney, and respectfully STATES and PRAYS:

        1.        On April 25, 2018, Defendant filed 6 motions requesting subpoenas to different

 third parties (Docs. No. 111-116), which were opposed by Trustee (Doc. No. 117) and denied by

 this Honorable Court on April 30, 2018, “for failure to comply with Puerto Rico Local Bankruptcy

 Rule 9013−1(c) and for failure to serve the motion to compel production to the mailing addresses

 of the nonparties” (Docs. No. 119-124).

        2.        On May 17, 2018, Defendant filed 6 new motions requesting subpoenas, correcting

 the deficiencies signaled by this Honorable Court, (Docs. No. 134-139), the Trustee opposing the

 motions again, making reference to its opposition filed in Doc. No. 117 (Doc. No. 140).


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        3.      The instant adversary case was filed to seek approval of this Honorable Court for

 the sale of co-owned property (the “Property”) of the estate pursuant to section 363(h) of the

 Bankruptcy Code, but Defendant filed a counterclaim on its answer to the complaint in which

 Defendant questions Debtor’s assets and income at the time of the filing of Debtor’s Chapter 7

 petition (the “Petition”), the sale of assets of the estate without authorization of this Honorable

 Court, Trustee’s unwillingness to sell the Property to Defendant, among others (the

 “Counterclaim”) (Doc. No. 12).

        4.      The Counterclaim is still pending in this adversary case.

        5.      Debtor has been imprecise when disclosing his assets. In Debtor’s 341 meeting,

 Debtor under oath admitted that he acted as owner of Gusupa, Inc. (“Gusupa”) to receive

 commercial lending since his parents, who he claims are the ‘real’ owners, did not have the

 sufficient credit strength to receive the commercial loan. Debtor’s father also admitted under oath

 to the same in the 341 meeting in Bankruptcy case no. 11-07334. Debtor also admitted under oath

 that he possessed no personal motor vehicle and that, instead, he was using a Gusupa’s company

 car even after he stopped working for Gusupa. This demonstrates that Debtor may be confusing

 his assets with those of his parents and Gusupa.

        6.      Defendant has also demonstrated previous strange dealings of Gusupa which may

 be related to Debtor’s presidency, including the sale of real estate property of Gusupa to a family

 member for significantly less than its market value; the rent of real estate property of Gusupa,

 where Gusupa assumed all costs but a third party received all the rents and benefits; and the

 commercial lending were Debtor and Defendant, before the divorce, appeared as sole owners of

 Gusupa, Debtor representing to the bank that Gusupa had a $1,000,000.00 value. These findings




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 were included as part of Docket No. 34, in Carol Martínez Iserni’s forensic report dated June 4,

 2013.

         7.       The facts that may be discovered upon the issuing of the subpoena orders are not

 only crucial to Defendant’s Counterclaim and defenses, but also helps Trustee determine Debtor’s

 real assets, which may be distributed to Debtor’s creditors, including but not limited, Defendant.

         8.       Defendant’s request for the issue of orders of subpoena will help Trustee perform

 its duties under a Chapter 7 proceeding. Section 704 of the Bankruptcy Code states:

               (a)The trustee shall—

                  (1) collect and reduce to money the property of the estate for which such trustee
                  serves, and close such estate as expeditiously as is compatible with the best interests
                  of parties in interest;

                  […]

                  (4) investigate the financial affairs of the debtor […]

         9.       Essentially, Defendant’s request of orders of subpoenas are part of an investigation

 of Debtor’s financial affairs in an attempt to at least partially recover the $174,128.00 in domestic

 support obligations owed to her, as included in Defendant’s proof of claim, an obligation which

 has significantly increased since the filing of the proof of claim almost 7 years ago.

         10.      As previous spouse of Debtor, Defendant has reasonable belief that Debtor’s assets

 at the time of the filing of the Petition may have been higher than what was reported.

         11.      With the issuing of the subpoenas, this Honorable Court will be able to finally

 determine if Debtor’s assets and income were under or overstated, and if there was fraud when

 filing the Petition.




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        12.      The issue of the subpoenas will not affect Trustee’s rights within the case and will

 not delay the proceedings pending in this case since we are still under the 60-day discovery

 extension granted by this Honorable Court on April 20, 2018 (Doc. No. 108).

        13.      Regarding the sale pf the Property by Trustee, pursuant to section 363(h) of the

 Bankruptcy Code, Section 363(h) states:

        Notwithstanding subsection (f) of this section, the trustee may sell both the estate’s interest,
        under subsection (b) or (c) of this section, and the interest of any co-owner in property in
        which the debtor had, at the time of the commencement of the case, an undivided interest
        as a tenant in common, joint tenant, or tenant by the entirety, only if—
              (1) partition in kind of such property among the estate and such co-owners is
              impracticable;
              (2) sale of the estate’s undivided interest in such property would realize significantly
              less for the estate than sale of such property free of the interests of such co-owners;
              (3) the benefit to the estate of a sale of such property free of the interests of co-
              owners outweighs the detriment, if any, to such co-owners; and
              (4) such property is not used in the production, transmission, or distribution, for sale,
              of electric energy or of natural or synthetic gas for heat, light, or power. (Emphasis
              added).
        14.      As Defendant has explained before, the sale of the Property is detrimental to

 Defendant and her children. Not only is the Property the principal residence and home of

 Defendant and her children, it is her children’s homestead and the place where they grew up.

        15.      Defendant needs to know the total amount of assets of the estate before the hearing

 on the merits of this adversary proceeding and said information can only be obtained with the

 cooperation of third parties.

        WHEREFORE, it is requested that this Honorable Court hereby issue the subpoena orders

 requested by Defendant, in a manner similar to the orders filed as Docs. 134-139.

        RESPECTFULLY SUBMITTED.
        San Juan, Puerto Rico, this 25th day of May, 2018.



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        I HEREBY CERTIFY that on this same date I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF System which will send notification of such filing to the

 participants appearing in said record, including the Debtor and Chapter 7 Trustee.

                                              s/ CARLOS G. GARCÍA MIRANDA
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